Case 6:20-cv-00831-RBD-GJK Document 110-1 Filed 10/01/20 Page 1 of 4 PageID 18471




                    EXHIBIT A
Case 6:20-cv-00831-RBD-GJK Document 110-1 Filed 10/01/20 Page 2 of 4 PageID 18472
     DEPARTMENT OF HEALTH & HUMAN SERVICES                                          Public Health Service



                                                                                    Food and Drug Administration
                                                                                    9200 Corporate Boulevard
                                                                                    Rockville MD 20850




 Ms. Lorraine M. Hanley
 Director
 Global Regulatory Affairs
 Boston Scientific /Urology
 One Boston Scientific Place
 Natick, Massachusetts 01760-1537

 Re: K020110
     Trade Name: Surgical Mesh
     Regulation Number: 878.3300
      Regulation Name: Surgical mesh, polymeric
      Regulatory Class: II
      Product Code: FTL
      Dated: January 9, 2002
      Received : January 11, 2002

 Dear Ms. Hanley:

 We have reviewed your Section 510 (k) premarket notification of intent to market the device
 referenced above and we have determined the device is substantially equivalent (for the
 indications for use stated in the enclosure ) to devices marketed in interstate commerce prior to
 May 28, 1976, the enactment date of the Medical Device Amendments , or to devices that have
 been reclassified in accordance with the provisions of the Federal Food, Drug, and Cosmetic Act
 (Act) that do not require approval of a premarket approval application (PMA). You may,
 therefore , market the device, subject to the general controls provisions of the Act. The general
 controls provisions of the Act include requirements for annual registration, listing of devices.
 good manufacturing practice, labeling, and prohibitions against misbranding and adulteration

  if your device is classified (see above) into either class II (Special Controls ) or class III (PMA), it
  may be subject to such additional controls. Existing major regulations affecting your device can
  be found in the Code of Federal Regulations , Title 21 , Parts 800 to 898. In addition, FDA may
  publish further announcements concerning your device in the Federal Register .

  Please be advised that FDA's issuance of a substantial equivalence determination does not mean
  that FDA has made a determination that your device complies with other requirements of the Act
  or any Federal statutes and regulations administered by other Federal agencies. You must
  comply with all the Act's requirements, including, but not limited to: registration and listing (21
  CFR Part 807); labeling (21 CFR Part 801); good manufacturing practice requirements as set
  forth in the quality systems (QS) regulation (21 CFR Part 820); and if applicable, the electronic
  product radiation control provisions (Sections 531-542 of the Act); 21 CFR 1000-1050.




                                                                                                         CONFIDENTIAL
                                                                                                      BSCM00100000002
Case 6:20-cv-00831-RBD-GJK Document 110-1 Filed 10/01/20 Page 3 of 4 PageID 18473



 Page 2 - Ms. Lorraine Hanley

 This letter will allow you to begin marketing your device as described in your Section 510(k)
 premarket notification. The FDA finding of substantial equivalence of your device to a legally
 marketed predicate device results in a classification for your device and thus, permits your device
 to proceed to the market.

 If you desire specific advice for your device on our labeling regulation (21 CFR Part 801 and
 additionally 21 CFR Part 809.10 for in vitro diagnostic devices), please contact the Office of
 Compliance at (301) 594-4659. Additionally, for questions on the promotion and advertising of
 your device, please contact the Office of Compliance at (301) 594-4639. Also, please note the
 regulation entitled, ,Misbranding by reference to premarket notification- (21CFR Part 807.97).
 Other general information on your responsibilities under the Act may be obtained from the
 Division of Small Manufacturers, International and Consumer Assistance at its toll-free number
 (800) 638-2041 or (301) 443-6597 or at its Internet address
 http://www.fda.gov/cdrbldsma/dsmamain.html


                                              Sincerely yours,



                                              Celia M. Witten, Ph.D., M.D.
                                              Director
                                              Division of General, Restorative
                                               and Neurological Devices
                                              Office of Device Evaluation
                                              Center for Devices and
                                               Radiological Health


 Enclosure




                                                                                                 CONFIDENTIAL
                                                                                              BSCM00100000003
Case 6:20-cv-00831-RBD-GJK Document 110-1 Filed 10/01/20 Page 4 of 4 PageID 18474
                                        510(k) Premarket Notification : Surgical Mesh 01/09/02




        IV. Indications for Use Statement




            510(k) Number (if Known):
                                                          0-)' (9 / 1 0


            Device Name :       Surgical Mesh



            Indications For Use:

            It is intended for treatment of stress urinary incontinence (SUI) resulting from urethral hypermobility
            and/or intrinsic sphincter deficiency and to reinforce soft tissue where weakness exists in the
            urological, gynecological, or gastroenterological anatomy. This includes but is not limited to the
            following procedures: pubourethral support and bladder support, urethral and vaginal prolapse repair,
            reconstruction of the pelvic floor, and sacro-colposuspension.




                (PLEASE DO NOT WRITE BELOW THIS LINE-CONTINUE ON ANOTHER PAGE IF
                NEEDED)

                                   Concurrence of CDRH, Office of Device Evaluation (ODE)




                        Prescription Use /\                  OR                   Over-The- Counter Use
                                                                                  (Optional Format 1-2-96)




                                                L
                                (Division Sip-8f)
                                Division of General , Restorative
                                and Neurological Devices

                                510(k) Number               k 60b 110-




        IV-1

                                                                                                          CONFIDENTIAL
                                                                                                       BSCM00100000004
